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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    EXPRESS, INC., et al.,1                                          )   Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. 269

                          NOTICE OF REJECTION OF CERTAIN
                   EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON SCHEDULE 2 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on May 17, 2024 the United States Bankruptcy Court for

the District of Delaware (the “Court”) entered an order on the motion (the “Motion”)2 of debtors

and debtors in possession (the “Debtors”), approving procedures for the rejection, assumption, or

assumption and assignment of executory contracts and unexpired leases and granting related relief

[Docket No. 269] (the “Procedures Order”) attached hereto as Schedule 1.

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

in the exercise of their business judgment, that each Contract set forth on Schedule 2 attached

hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth in Schedule 2, or


1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2     Capitalized terms used and not otherwise defined herein have the meanings given to them in the Motion.
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such other date as the Debtors and the counterparty or counterparties to any such Contract agree.

If any such Contract is an unexpired lease of non-residential real property (a “Lease”), the rejection

effective date shall be the later of (a) the proposed effective date set forth on the Rejection Notice;

and (b) the date the Debtors relinquish control of the premises by (1) notifying the affected landlord

in writing, with email being sufficient, of the Debtors’ surrender of the premises and turning over

the key, key codes, and security codes, if any, to the affected landlord or (2) notifying the affected

landlord in writing, with email being sufficient, that the keys, key codes, and security codes, if

any, are not available, but that the landlord may rekey the leased premises.

       PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts or the abandonment of any personal property remaining in the

premises of any unexpired lease of non-residential real property, must file and serve a written

objection so that such objection is filed with the Court on the docket of the Debtors’ chapter 11

cases no later than ten (10) days after the date that the Debtors served this Notice and promptly

serve such objection on the following parties: (a) the Debtors, Express, Inc., One Express Drive,

Columbus, Ohio 43230, Attn.: Laurel Krueger; (b) proposed counsel to the Debtors (i) Kirkland

& Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Joshua A. Sussberg,

P.C., Emily E. Geier, P.C. and Nicholas M. Adzima, (ii) Kirkland & Ellis LLP, 333 West Wolf

Point Plaza, Chicago, Illinois, 60654, Attn.: Charles B. Sterrett; (iii) Klehr Harrison Harvey

Branzburg LLP, 919 North Market Street, Suite 1000, Wilmington, Delaware 19801, Attn.:

Domenic E. Pacitti, Michael W. Yurkewicz, and Alyssa M. Radovanovich, and (iv) Klehr Harrison

Harvey Branzburg LLP, 1835 Market Street, Suite 1400, Philadelphia, Pennsylvania 19103, Attn.:

Morton R. Branzburg; (c) the applicable Rejection Counterparty to the extent an objection is filed

by a party other than the Rejection Counterparty; (d) the United States Trustee, 844 King Street,


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Suite    2207,      Lockbox   35,     Wilmington,       Delaware   19801,     Attn.:   John   Schanne

(John.Schanne@usdoj.gov); (e) counsel to Wells Fargo Bank, National Association, as

administrative agent for certain prepetition and postpetition lenders of the Debtors (i) Goldberg

Kohn Ltd., 55 E. Monroe St., Suite 3300, Chicago, Illinois 60603, Attn.: Randall Klein

(Randall.Klein@goldbergkohn.com),                       Dimitri              G.               Karcazes

(Dimitri.Karcazes@goldbergkohn.com), Keith G. Radner (Keith.Radner@goldbergkohn.com),

and Eva D. Gadzheva (Eva.Gadzheva@goldbergkohn.com), and (ii) Richards Layton & Finger,

920 N. King Street, Wilmington, Delaware 19801, Attn.: John H. Knight (Knight@RLF.com),

Paul N. Heath (heath@RLF.com), and Alexander R. Steiger (Steiger@RLF.com); (f) counsel to

ReStore Capital, LLC, as administrative agent for certain prepetition and postpetition lenders of

the Debtors (i) Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor, Chicago, Illinois 60606,

Attn.: Stephen L. Iacovo (stephen.iacovo@ropesgray.com), and (ii) Chipman, Brown, Cicero &

Cole, LLP, 1313 North Market Street, Suite 5400, Wilmington, Delaware 19801, Attn.: Mark L.

Desgrosseilliers (desgross@chipmanbrown.com); and (g) proposed counsel to the Committee, (i)

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

10036,      Attn:      Adam         Rogoff      (arogoff@kramerlevin.com),        Robert      Schmidt

(rschmidt@kramerlevin.com), and Nathaniel Allard (nallard@kramerlevin.com); and (ii) Saul

Ewing LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801, Attn: Luke Murley

(luke.murley@saul.com). Only those responses that are timely filed, served, and received will be

considered at any hearing.

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract (other than to the rejection of a Lease) shall become effective on the

applicable Rejection Date set forth in Schedule 2, or such other date as the Debtors and the


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counterparty or counterparties to such Contract agree.3 If the Contract is a Lease, the Debtors shall

file a Rejection Order under a certificate of no objection. The rejection of each Lease shall become

effective on the applicable Rejection Date set forth in Schedule 2 or such other date to which the

Debtors and the counterparty or counterparties to such Lease agree.

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract is timely filed and not withdrawn or resolved, the Debtors shall schedule a hearing to

consider the objection for the Contract or Contracts to which such objection relates. If such

objection is overruled or withdrawn, such Contract or Contracts will only be deemed rejected upon

the entry of a form of Rejection Order resolving the objection as between the Debtors and the

applicable objecting party and/or Rejection Counterparty, unless the Debtors and the applicable

Rejection Counterparty agree otherwise; or as otherwise ordered by the Court.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

monies without further order of the Court, unless the Debtors and the counterparty or

counterparties to such Contracts otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described in Schedule 2 attached hereto shall be deemed

abandoned as of the Rejection Date. With respect to Leases, on the Rejection Date landlords may,

without further order of the Court, utilize and/or dispose of such property without notice or liability



3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
    objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
    rejection of any particular Contract listed in this Rejection Notice must state with specificity the Contract to which
    it is directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection
    will be effective in accordance with this Rejection Notice and the Order.


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to the Debtors or consenting third parties other than the DIP Agents, DIP Lenders, ABL Agent,

ABL Lenders, and FILO Lenders and, to the extent applicable, the automatic stay will be modified

to allow such use and/or disposition; provided that unless the DIP Agent, DIP Lenders, ABL

Agent, ABL Lenders, or FILO Lenders file an objection to the release of their interests (if any) in,

or liens on (if any), such property no later than the Rejection Date, the DIP Lenders, ABL Lenders,

and FILO Lenders, as applicable, consent to the release of their interests (if any) in, and liens on

(if any), such property, and any such interests and liens will be released.

       PLEASE TAKE FURTHER NOTICE that to the extent you wish to assert a claim with

respect to rejection of your Contract or Contracts, you must do so by the later of (a) the deadline

for filing proofs of claim established in these chapter 11 cases, if any, and (b) thirty (30) days after

the later of (i) the Rejection Date, and (ii) the date of entry of the Rejection Order. IF YOU FAIL

TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY THE

DEADLINE SET FORTH HEREIN, YOU WILL BE, FOREVER BARRED, ESTOPPED, AND

ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS AND

THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF

REORGANIZATION FILED IN THESE CASES ON ACCOUNT OF SUCH CLAIM, AND

(3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES

ON ACCOUNT OF SUCH CLAIM.




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Dated: May 22, 2024
Wilmington, Delaware

/s/ Domenic E. Pacitti
KLEHR HARRISON HARVEY BRANZBURG LLP                     KIRKLAND & ELLIS LLP
Domenic E. Pacitti (DE Bar No. 3989)                    KIRKLAND & ELLIS INTERNATIONAL LLP
Michael W. Yurkewicz (DE Bar No. 4165)                  Joshua A. Sussberg, P.C. (admitted pro hac vice)
Alyssa M. Radovanovich (DE Bar No. 7101)                Emily E. Geier, P.C. (admitted pro hac vice)
919 North Market Street, Suite 1000                     Nicholas M. Adzima (admitted pro hac vice)
Wilmington, Delaware 19801                              601 Lexington Avenue
Telephone: (302) 426-1189                               New York, New York 10022
Facsimile: (302) 426-9193                               Telephone:      (212) 446-4800
Email:       dpacitti@klehr.com                         Facsimile:      (212) 446-4900
             myurkewicz@klehr.com                       Email:          joshua.sussberg@kirkland.com
             aradvanovich@klehr.com                                     emily.geier@kirkland.com
                                                                        nicholas.adzima@kirkland.com
-and-
                                                        -and-
Morton R. Branzburg (admitted pro hac vice)
1835 Market Street, Suite 1400                          Charles B. Sterrett (admitted pro hac vice)
Philadelphia, Pennsylvania 19103                        333 West Wolf Point Plaza
Telephone: (215) 569-3007                               Chicago, Illinois 60654
Facsimile: (215) 568-6603                               Telephone:       (312) 862-2000
Email:        mbranzburg@klehr.com                      Facsimile:       (312) 862-2200
                                                        Email:           charles.sterrett@kirkland.com


Proposed Co-Counsel for the Debtors                     Proposed Co-Counsel for the Debtors
and Debtors in Possession                               and Debtors in Possession
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                       Schedule 1

                    Procedures Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    EXPRESS, INC., et al.,1                                          )    Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. 16

                 ORDER (I) AUTHORIZING AND APPROVING
             PROCEDURES TO REJECT OR ASSUME EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order (this “Order”) (a) authorizing and approving the

Contract Procedures for rejecting or assuming executory contracts and unexpired leases, and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’


1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The following Rejection Procedures are approved in connection with rejecting

               Contracts:

               a.      Rejection Notice. The Debtors shall file a notice substantially in the form
                       attached hereto as Exhibit 1 (the “Rejection Notice”) indicating the
                       Debtors’ intent to reject a Contract or Contracts pursuant to section 365 of
                       the Bankruptcy Code, which Rejection Notice shall set forth, among other
                       things: (i) the Contract or Contracts to be rejected; (ii) the Debtor or
                       Debtors party to such Contract; (iii) the names and addresses of the
                       counterparties to such Contract(s) (each a “Rejection Counterparty”);
                       (iv) the store number and address of the affected location, if applicable;
                       (v) the proposed effective date of rejection for each such Contract(s) (each,
                       the “Rejection Date”); (vi) if any such Contract is an unexpired lease of
                       non-residential real property (a “Lease”), a description of any property to
                       be abandoned at the leased premises, including any personal property,
                       furniture, fixtures, and equipment (the “Abandoned Property”), if any, and
                       an estimate of the book value of such property, if practicable; (vii) with
                       respect to leased real property, any known third party having an interest in
                       any Abandoned Property located at the leased premises; and (viii) the
                       deadlines and procedures for filing objections to the Rejection Notice (as
                       set forth below). The Rejection Notice may list multiple Contracts;
                       provided that the number of counterparties to Contracts listed on each
                       Rejection Notice shall be limited to no more than 100, provided, further, if
                       any such Contract is a lease, the Rejection Notice shall be accompanied by
                       a proposed form of order (the “Rejection Order”) approving the rejection of
                       the Lease(s), which shall be substantially in the form of Schedule 3 to the
                       Rejection Notice, and no Lease shall be deemed rejected absent entry of an
                       applicable Rejection Order.


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                 b.      Service of the Rejection Notice. The Debtors will cause each Rejection
                         Notice to be served: (i) by overnight delivery service upon the Rejection
                         Counterparties affected by the Rejection Notice at the notice address
                         provided in the applicable Contract (and upon such Rejection
                         Counterparty’s counsel, if known) and all parties who may have any interest
                         in any Abandoned Property (if known); and (ii) by first class mail, email, or
                         fax, upon (A) the office of the United States Trustee for the District of
                         Delaware, Attn.: John Schanne (john.schanne@usdoj.gov); (B) the Debtors’
                         30 largest unsecured creditors (on a consolidated basis); (C) the agents
                         under the Debtors’ prepetition secured facilities and counsel thereto; (D) the
                         Committee and counsel thereto; (E) the United States Attorney’s Office for
                         the District of Delaware; (F) the Internal Revenue Service; (G) the U.S.
                         Securities and Exchange Commission; (H) the attorneys general in the
                         states where the Debtors conduct their business operations; and (I) any party
                         that has requested notice pursuant to Bankruptcy Rule 2002 (collectively,
                         the “Master Notice Parties”).

                 c.      Objection Procedures. Parties objecting to a proposed rejection or to the
                         abandonment of the Abandoned Property must file and serve a written
                         objection3 so that such objection is filed with this Court on the docket of the
                         Debtors’ chapter 11 cases no later than ten (10) days after the date the
                         Debtors file and serve the relevant Rejection Notice (the “Rejection
                         Objection Deadline”) and promptly serve such objection on the following
                         parties (collectively, the “Objection Service Parties”): (i) the Debtors,
                         Express, Inc., One Express Drive, Columbus, Ohio 43230, Attn.: Laurel
                         Krueger (lakrueger@express.com); (ii) proposed co-counsel to the Debtors,
                         Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York
                         10022, Attn.: Joshua A. Sussberg, P.C. (josh.sussberg@kirkland.com);
                         Emily E. Geier, P.C. (emily.geier@kirkland.com); Nicholas M. Adzima
                         (nicholas.adzima@kirkland.com); and Kirkland & Ellis, LLP, 333 West
                         Wolf Point Plaza, Chicago, Illinois 60654, Attn.: Charles B. Sterrett
                         (charles.sterrett@kirkland.com); (iii) proposed co-counsel to the Debtors,
                         Klehr Harrison Harvey Branzburg LLP, 919 North Market Street,
                         Suite 1000, Wilmington, Delaware 19801, Attn.: Domenic E. Pacitti
                         (dpacitti@klehr.com), Michael W. Yurkewicz (myurkewicz@klehr.com),
                         and Alyssa M. Radovanovich (aradvanovich@klehr.com), and Klehr
                         Harrison Harvey Branzburg LLP, 1835 Market Street, Suite 1400,
                         Philadelphia, Pennsylvania 19103, Attn.: Morton R. Branzburg
                         (mbranzburg@klehr.com); (iv) the applicable Rejection Counterparty to the
                         extent an objection is filed by a party other than the Rejection Counterparty;
                         (v) the U.S. Trustee for the District of Delaware, 844 King Street, Suite
                         2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: John Schanne
                         (john.schanne@usdoj.gov); (vi) counsel to Wells Fargo Bank, National
                         Association, as administrative agent for certain prepetition and postpetition

3   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
    objection to the rejection of any other Contract listed on such Rejection Notice.

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       lenders of the Debtors, Goldberg Kohn Ltd., 55 E. Monroe St., Suite 3300,
       Chicago,        Illinois     60603,        Attn.:      Randall        Klein
       (Randall.Klein@goldbergkohn.com),           Dimitri       G.      Karcazes
       (Dimitri.Karcazes@goldbergkohn.com),           Keith        G.      Radner
       (Keith.Radner@goldbergkohn.com),          and     Eva      D.     Gadzheva
       (Eva.Gadzheva@goldbergkohn.com); and Richards Layton & Finger, 920
       N. King Street, Wilmington, Delaware 19801, Attn.: John H. Knight
       (Knight@RLF.com), Paul N. Heath (heath@RLF.com), and Alexander R.
       Steiger (Steiger@RLF.com); (vii) counsel to ReStore Capital, LLC, as
       administrative agent for certain prepetition and postpetition lenders of the
       Debtors, Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor, Chicago,
       Illinois 60606, Attn.: Stephen L. Iacovo (steven.iacovo@ropesgray.com);
       and Chipman, Brown, Cicero & Cole, LLP, 1313 North Market Street, Suite
       5400, Wilmington, Delaware 19801, Attn.: Mark L. Desgrosseilliers
       (desgross@chipmanbrown.com); (viii) proposed counsel to the Committee,
       Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New
       York, New York 10036, Attn: Adam Rogoff (arogoff@kramerlevin.com),
       Robert Schmidt (rschmidt@kramerlevin.com), and Nathaniel Allard
       (nallard@kramerlevin.com); and (ix) proposed co-counsel to the
       Committee, Saul Ewing LLP, 1201 North Market Street, Suite 2300,
       Wilmington, DE 19801, Attn: Luke Murley (luke.murley@saul.com).

 d.    No Objection Timely Filed. If no objection to the rejection of any Contract
       is timely filed (other than to the rejection of a Lease), each Contract listed
       in the applicable Rejection Notice shall be deemed rejected as of the
       applicable Rejection Date set forth in the Rejection Notice or such other
       date as the Debtors and the applicable Rejection Counterparty agree;
       provided, however, if the Contract is a Lease, the Debtors shall submit the
       Rejection Order to the Court under a certificate of no objection authorizing
       the rejection of each such Lease listed in the applicable Rejection Notice to
       be rejected as of the later of (i) the applicable Rejection Date set forth in the
       Rejection Notice or such other date as the Debtors and the applicable
       Rejection Counterparty may agree; and (ii) the date the Debtors relinquish
       control of the premises by (A) notifying the affected landlord in writing,
       with email being sufficient, of the Debtors’ surrender of the premises and
       turning over keys, key codes, and security codes, if any, to the affected
       landlord or (B) notifying the affected landlord in writing, with email being
       sufficient, that the keys, key codes, and security codes, if any, are not
       available, but the landlord may rekey the leased premises; provided, further,
       that the Rejection Date for a Lease rejected pursuant to these Rejection
       Procedures shall not occur earlier than the date the Debtors file and served
       the applicable Rejection Notice.

 e.    Unresolved Timely Objections. If an objection to a Rejection Notice is
       timely filed and properly served as specified above and not withdrawn or
       resolved, the Debtors shall schedule a hearing on such objection and shall
       provide at least ten (10) days’ notice of such hearing to the applicable
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       Rejection Counterparty and the other Objection Service Parties. For the
       avoidance of doubt, such Contract will only be deemed rejected upon the
       entry of a form of Rejection Order resolving the objection as between the
       Debtors and the applicable objecting party and/or Rejection Counterparty;
       unless the Debtors and the applicable Rejection Counterparty agree
       otherwise; or as otherwise ordered by the Court.

 f.    Removal from Schedule. The Debtors reserve the right to remove any
       Contract from the schedule to a Rejection Notice at any time prior to the
       Rejection Date, but shall provide any affected Rejection Counterparty and
       the Objection Service Parties with notice of the removal of any Contract
       from the Rejection Notice within two (2) business days of any such change,
       provided that the Debtors shall not remove any Contract from the schedule
       to a Rejection Notice following the Rejection Date listed on the Rejection
       Notice if they have relinquished control of the premises by notifying the
       affected landlord in writing, with email being sufficient, of the Debtors’
       surrender of the premises as described above and (a) turn over keys, key
       codes, and security codes, if any, to the affected landlord or (b) notify the
       affected landlord in writing, with email being sufficient, that the keys, key
       codes, and security codes, if any, are not available, but the landlord may
       rekey the leased premises.

 g.    No Application of Security Deposits. If the Debtors have deposited monies
       with a Rejection Counterparty as a security deposit or other arrangement,
       such Rejection Counterparty may not set off or recoup or otherwise use such
       deposit without the prior approval of the Court, unless the Debtors and the
       applicable Rejection Counterparty otherwise agree.

 h.    Abandoned Property. The Debtors are authorized, but not directed, at any
       time on or before the applicable Rejection Date, to remove or abandon any
       of the Debtors’ personal property that may be located on the Debtors’ leased
       premises that are subject to a rejected Lease. The Debtors shall generally
       describe the Abandoned Property in the Rejection Notice and their intent to
       abandon such property. Absent a timely objection, any and all Abandoned
       Property located on the Debtors’ leased premises on the Rejection Date of
       the applicable Lease shall be deemed abandoned pursuant to section 554 of
       the Bankruptcy Code, as is, effective as of the Rejection Date. The rights,
       claims, and remedies, if any, of all persons other than the Debtors and their
       estates with respect to the Abandoned Property under applicable law are
       hereby preserved; provided that the landlords may, without further order of
       this Court, utilize and/or dispose of the Abandoned Property without notice
       or liability to the Debtors or consenting third parties other than the DIP
       Agents, DIP Lenders, ABL Agent, ABL Lenders, and FILO Lenders and,
       to the extent applicable, the automatic stay is modified to allow such use
       and/or disposition; provided further, that unless the DIP Agent, DIP
       Lenders, ABL Agent, ABL Lenders, or FILO Lenders file an objection to
       the release of their interests (if any) in, or liens on (if any), the Abandoned

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             Property no later than the Rejection Date, the DIP Lenders, ABL Lenders,
             and FILO Lenders, as applicable, consent to the release of their interests (if
             any) in, and liens on (if any), the Abandoned Property, and any such
             interests and liens are hereby released; provided further, that the Debtors
             shall provide the DIP Agents, DIP Lenders, ABL Agent, ABL Lenders, and
             FILO Lenders, and any other party reasonably known by the Debtors to
             have a material interest in any Abandoned Property, with three (3) days’
             advance written notice (or such other time as commercially practicable),
             which notice may be via e-mail to counsel of the DIP Agents, DIP Lenders,
             ABL Agent, ABL Lenders, and FILO Lenders, of filing a Rejection Notice
             that contains leases of non-residential real property and a general
             description of any Abandoned Property the Debtors expect to abandon in
             connection with such rejected leases.

      i.     Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
             must be filed on or before the later of (i) the deadline for filing proofs of
             claim established in these chapter 11 cases, if any, and (ii) thirty (30) days
             after the later of (A) the applicable Rejection Date, and (B) the date of entry
             of any Rejection Order. If no proof of claim is timely filed, such claimant
             shall be forever barred from asserting a claim for damages arising from the
             rejection and from participating in any distributions on account of such
             claim that may be made in connection with these chapter 11 cases.

3.    The following Assumption Procedures are approved in connection with assuming

      and assuming and assigning Contracts:

      a.     Assumption Notice. The Debtors shall file a notice substantially in the form
             attached hereto as Exhibit 2 (the “Assumption Notice”) indicating the
             Debtors’ intent to assume a Contract or Contracts pursuant to section 365
             of the Bankruptcy Code, which shall set forth, among other things: (i) the
             Contract or Contracts to be assumed; (ii) the names and addresses of the
             counterparties to such Contracts (each an “Assumption Counterparty”);
             (iii) the Debtor or Debtors party to such Contract; (iv) the store number and
             address of the affected location, if applicable; (v) the identity of the
             proposed assignee of such Contracts (the “Assignee”), if applicable; (vi) the
             effective date of the assumption for each such Contract (the “Assumption
             Date”); (vii) the proposed cure amount, if any for each such Contract;
             (viii) a description of any material amendments to the Contract made
             outside of the ordinary course of business as consented to in writing with
             the applicable Assumption Counterparty; and (ix) the deadlines and
             procedures for filing objections to the Assumption Notice (as set forth
             below). The Assumption Notice may list multiple Contracts; provided that
             the number of counterparties to Contracts listed on the Assumption Notice
             shall be limited to no more than 100. If any such Contract is a Lease, the
             Assumption Notice shall be accompanied by a proposed form of order (the
             “Assumption Order”) approving the assumption or assumption and
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                          assignment of the Lease(s), which shall be substantially in the form of
                          Schedule 3 to the Assumption Notice, and no Lease shall be deemed
                          assumed absent entry of an applicable Assumption Order.

                 b.       Service of the Assumption Notice and Evidence of Adequate Assurance.
                          The Debtors will cause the Assumption Notice to be served (i) by overnight
                          delivery upon the Assumption Counterparties affected by the Assumption
                          Notice and each Assignee, if applicable, at the address set forth in the notice
                          provision of the applicable Contract (and upon the Assumption
                          Counterparties’ counsel, if known) and (ii) by first class mail, email, or fax
                          upon the Master Notice Parties.4 To the extent the Debtors seek to assume
                          or assume and assign a Lease, the Debtors will cause evidence of adequate
                          assurance of future performance to be served with the Assumption Notice
                          by overnight delivery upon the Lease Assumption Counterparties affected
                          by the Assumption Notice at the address set forth in the notice provision of
                          the applicable Lease (and upon the Lease Assumption Counterparties’
                          counsel, if known, by electronic mail).

                 c.       Objection Procedures. Parties objecting to a proposed assumption or
                          assumption and assignment (including as to the cure amount), as applicable,
                          of a Contract must file and serve a written objection5 so that such objection
                          is filed with this Court and actually received by the Objection Service
                          Parties no later than ten (10) days after the date the Debtors file and serve
                          the relevant Assumption Notice and promptly serve such objection on the
                          Objection Service Parties.

                 d.       No Objection. If no objection to the assumption of any Contract is timely
                          filed, (other than to the assumption or assumption and assignment of a
                          Lease), each Contract listed in the applicable Assumption Notice shall be
                          deemed assumed or assumed and assigned, as applicable, as of the
                          applicable Assumption Date set forth in the Assumption Notice or such
                          other date as the Debtors and the applicable Assumption Counterparty may
                          agree; provided, however, if the Contract is a Lease, the Debtors shall
                          submit the Assumption Order to the Court under a certificate of no objection
                          authorizing the assumption of each Lease, which shall be assumed or
                          assumed and assigned as of the Assumption Date set forth in the applicable
                          Assumption Notice or such other date as the Debtors and the applicable
                          Assumption Counterparties may agree, and the proposed cure amount shall
                          be binding on all counterparties to such Contract and no amount in excess
                          thereof shall be paid for cure purposes; provided, however, that the


4   The Debtors shall serve (by electronic mail, if requested) a counterparty to a Contract other than a lease of
    non-residential real property to be assumed under the Contract Procedures with evidence of adequate assurance
    as soon as reasonably practicable upon such counterparty’s written request to the Debtors’ proposed counsel.
5   An objection to the assumption of any particular Contract listed on an Assumption Notice shall not constitute an
    objection to the assumption of any other Contract listed on such Assumption Notice.

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                       Assumption Date for a Lease shall not occur earlier than the date the
                       Debtors file and serve the applicable Assumption Notice.

               e.      Unresolved Timely Objections. If an objection to an Assumption Notice is
                       timely filed and properly served as specified above and not withdrawn or
                       resolved, the Debtors shall schedule a hearing on such objection and shall
                       provide at least ten (10) days’ notice of such hearing to the applicable
                       Assumption Counterparty and the other Objection Service Parties. For the
                       avoidance of doubt, such Contract will only be deemed assumed or assumed
                       and assigned upon the entry of an Assumption Order, unless otherwise
                       agreed as between the Debtors and the applicable Assumption
                       Counterparty. If such objection is overruled or withdrawn, such Contract
                       shall be assumed as of the date of the Assumption Order, or such other date
                       to which the Debtors, the applicable objecting party or applicable assignee
                       and/or Assumption Counterparty have agreed; or as otherwise ordered by
                       the Court.

               f.      Removal from Schedule. The Debtors reserve the right to remove any
                       Contract from the schedule to an Assumption Notice at any time prior to the
                       Assumption Order (including, without limitation, upon the failure of any
                       proposed assumption and assignment to close).

       4.      The Debtors’ right to assert that any provisions in the Contract that expressly or

effectively restrict, prohibit, condition, or limit the assignment of or the effectiveness of such

Contract to an Assignee are unenforceable anti-assignment or ipso facto clauses is fully reserved.

       5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

Code, to enter into the consensual amendments as set forth in an Assumption Notice.

       6.      Approval of the Contract Procedures and this Order will not prevent the Debtors

from seeking to reject or assume a Contract by separate motion.

       7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular

claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order or the Motion;

(e) a request or authorization to assume any agreement, contract, or lease pursuant to section 365

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of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any other party in interest’s,

rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors

that any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to

the Motion are valid, and the rights of all parties are expressly reserved to contest the extent,

validity, or perfection or seek avoidance of all such liens. Any payment made pursuant to this

Order is not intended and should not be construed as an admission as the validity of any particular

claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

       8.      All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

addition, nothing in this Order or the Motion shall limit the Debtors’ ability to subsequently assert

that any particular Contract is expired or terminated and is no longer an executory contract or

unexpired lease, respectively.

       9.      To the extent that the Debtors propose to abandon any personal property that may

contain “personally identifiable information,” as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’ employees

and/or customers, or any other individual (the “Confidential Information”), the Debtors shall

remove the Confidential Information from such personal property before such abandonment.

       10.     The Debtors are not authorized to abandon, and are directed to remove, any

hazardous materials defined under applicable law from any non-residential real property subject

to a rejected Contract as, and to the extent they are, required to do so by applicable law.

       11.     The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests


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that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

       12.     Notwithstanding anything to the contrary in this Order, any payment made, or

authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases.

       13.     Notice of the Motion as provided therein constitutes good and sufficient notice of

such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       14.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       15.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       16.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




   Dated: May 17th, 2024                               KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

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                       Schedule 2

                    Rejected Contracts
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        Counterparty Name              Counterparty Address              Debtor Counterparty              Contract Description                                              Contract Details                              Rejection Date

NetJets Aviation, Inc.
NetJets, Services, Inc.     4111 Bridgeway Ave., Columbus, Ohio 43219   Express, LLC           7/7/2016 Fractional Program Lease Agreement Lease for aircraft #750-0129, N929QS (Citation X)                                4/22/2024
NetJets Sales, Inc.
NetJets Aviation, Inc.
NetJets, Services, Inc.     4111 Bridgeway Ave., Columbus, Ohio 43219   Express, LLC           6/27/2019 Letter Agreement-Extension         Extention of 7/7/2016 Lease through 8/31/2019                                   4/22/2024
NetJets Sales, Inc.
NetJets Aviation, Inc.
NetJets, Services, Inc.     4111 Bridgeway Ave., Columbus, Ohio 43219   Express, LLC           8/23/2019 Fractional Program Agreement       Participation in Program for Textron Aviation Inc. 680A (Citation Latitude)     4/22/2024
NetJets Sales, Inc.
NetJets Aviation, Inc.
                                                                                                                                            Acquisition of leasehold interest in Textron Aviation Inc. 680A (Citation
NetJets, Services, Inc.     4111 Bridgeway Ave., Columbus, Ohio 43219   Express, LLC           8/13/2019 Aircraft Lease Agreement                                                                                           4/22/2024
                                                                                                                                            Latitude)
NetJets Sales, Inc.
                                                                        Express, LLC
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215                               8/22/2019 Scope of Work                      Production, activation, deployment, and project management for Tiny House       4/22/2024
                                                                        UW, LLC
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           5/2/2018 Terms and Conditions               Terms and conditions                                                             4/22/2024
                                                                                               4/27/18 Limited Marketing Agreement & Scope
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC                                                       Awesomatic Booth for Single Store activations in Atlanta, Dallas and Chicago     4/22/2024
                                                                                               of Work
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           6/19/2019 Scope of Work                     UpWest Experience Tour 2019 - 1485                                               4/22/2024
                                                                                                                                           Creative Development and Production of the UpWest pop-up store located at
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           February 2021 Scope of Work                                                                                                  4/22/2024
                                                                                                                                           The Village at Corte Madera In Corte Madera, CA
                                                                                                                                           Staffing and agency services for the UpWest pop-up store located at The
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           February 2021 Scope of Work                                                                                                  4/22/2024
                                                                                                                                           Village at Corte Madera In Corte Madera, CA
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           6/19/2019 Scope of Work                     Idea development and strategy of UpWest Experience Tour                          4/22/2024
                                                                                                                                           Creative Development and Production of the UpWest pop-up store located at
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           February 2021 Scope of Work                                                                                                  4/22/2024
                                                                                                                                           Park Meadows in Lone Tree, CO
                                                                                                                                           Staffing and agency services provided for the UpWest pop-up store located at
Civitas Now LLC             22 E Gay St #600, Columbus, OH 43215        Express, LLC           February 2021 Scope of Work                                                                                                  4/22/2024
                                                                                                                                           Park Meadows In Lone Tree, CO
Leap Services, Inc          207 E. Ohio St. #115, Chicago, IL 60611     UW, LLC                Amendment to Store Plan Agreement            Amend Leap Platform Store Plan Agreement                                        5/31/2024
